                                                                                            Case 15-41753              Doc 18   Filed 10/01/15 Entered 10/01/15 14:39:57   Desc Main
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                                                                               FORM 6. SCHEDULES

                                                                               Summary of Schedules
                                                                               Statistical Summary of Certain Liabilities and Related Data (28 U.S.C. § 159)

                                                                               Schedule A - Real Property
                                                                               Schedule B - Personal Property
                                                                               Schedule C - Property Claimed as Exempt
                                                                               Schedule D - Creditors Holding Secured Claims
                                                                               Schedule E - Creditors Holding Unsecured Priority Claims
                                                                               Schedule F - Creditors Holding Unsecured Nonpriority Claims
                                                                               Schedule G - Executory Contracts and Unexpired Leases
                                                                               Schedule H - Codebtors
                                                                               Schedule I - Current Income of Individual Debtor(s)
                                                                               Schedule J - Current Expenditures of Individual Debtors(s)

                                                                               Unsworn Declaration Under Penalty of Perjury
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                                                                               GENERAL INSTRUCTIONS: The first page of the debtor’s schedules and the first page of any amendments
                                                                               thereto must contain a caption as in Form 16B. Subsequent pages should be identified with the debtor’s name
                                                                               and case number. If the schedules are filed with the petition, the case number should be left blank.

                                                                               Schedules D, E, and F have been designed for the listing of each claim only once. Even when a claim is secured
                                                                               only in part or entitled to priority only in part, it still should be listed only once. A claim which is secured
                                                                               in whole or in part should be listed on Schedule D only, and a claim which is entitled to priority in whole or in
                                                                               part should be listed on Schedule E only. Do not list the same claim twice. If a creditor has more than one
                                                                               claim, such as claims arising from separate transactions, each claim should be scheduled separately.

                                                                               Review the specific instructions for each schedule before completing the schedule.
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                                                                                                                        United States Bankruptcy Court
                                                                                                                                    District of Massachusetts
                                                                               In re: Giuberti, Luiz                                                 Case No. 4:15-bk-41753
                                                                                                                                                     Chapter 13

                                                                                                                                     SUMMARY OF SCHEDULES

                                                                               Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F,
                                                                               I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all
                                                                               claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors also must complete the "Statistical
                                                                               Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.


                                                                                                                                  ATTACHED          NO. OF
                                                                                NAME OF SCHEDULE                                                                        ASSETS           LIABILITIES            OTHER
                                                                                                                                   (YES/NO)         SHEETS

                                                                                A - Real Property                                   Yes                        1     $584,000.00

                                                                                B - Personal Property                               Yes                        3       $33,405.20

                                                                                C - Property Claimed as Exempt                      Yes                        1

                                                                                D - Creditors Holding Secured                       Yes                        1                       $1,028,582.13
                                                                                  Claims

                                                                                E - Creditors Holding Unsecured                     Yes                        2                                  $0.00
                                                                                  Priority Claims
                                                                                  (Total of Claims on Schedule E)

                                                                                F - Creditors Holding Unsecured                     Yes                        2                            $8,990.00
                                                                                   Nonpriority Claims
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                                                                                G - Executory Contracts and                         Yes                        1
                                                                                  Unexpired Leases

                                                                                H - Codebtors                                       Yes                        1

                                                                                I - Current Income of                               Yes                        2                                                $5,767.04
                                                                                   Individual Debtor(s)

                                                                                J - Current Expenditures of                         Yes                        3                                                $5,594.38
                                                                                   Individual Debtor(s)

                                                                                                                                       Totals                 17     $617,405.20 $1,037,572.13
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                                                                                                                            United States Bankruptcy Court
                                                                                                                                        District of Massachusetts
                                                                               In re: Giuberti, Luiz                                                         Case No. 4:15-bk-41753
                                                                                                                                                             Chapter 13

                                                                                                                   STATISTICAL SUMMARY OF CERTAIN LIABILITIES
                                                                                                                         AND RELATED DATA (28 U.S.C. § 159)
                                                                               If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C. § 101(8)), filing a case under
                                                                               chapter 7, 11 or 13, you must report all information requested below.

                                                                                    Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any information here.

                                                                               This information is for statistical purposes only under 28 U.S.C. § 159.

                                                                               Summarize the following types of liabilities, as reported in the Schedules, and total them.

                                                                                Type of Liability                                                                    Amount

                                                                                Domestic Support Obligations (from Schedule E)

                                                                                Taxes and Certain Other Debts Owed to Governmental Units
                                                                                (from Schedule E)

                                                                                Claims for Death or Personal Injury While Debtor Was
                                                                                Intoxicated (from Schedule E) (whether disputed or
                                                                                undisputed)

                                                                                Student Loan Obligations (from Schedule F)

                                                                                Domestic Support, Separation Agreement, and Divorce
                                                                                Decree Obligations Not Reported on Schedule E
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                                                                                Obligations to Pension or Profit-Sharing, and Other Similar
                                                                                Obligations (from Schedule F)
                                                                                                                                                    TOTAL                  $0.00

                                                                               State the following:

                                                                                Average Income (from Schedule I, Line 12)                                            $5,767.04

                                                                                Average Expenses (from Schedule J, Line 22)                                          $5,594.38
                                                                                Current Monthly Income (from Form 22A-1 Line 11; OR,                                 $6,322.74
                                                                                Form 22B Line 14; OR, Form 22C-1 Line 14)

                                                                               State the following:

                                                                                1. Total from Schedule D, "UNSECURED PORTION, IF                                                        $444,582.13
                                                                                ANY" column

                                                                                2. Total from Schedule E, "AMOUNT ENTITLED TO
                                                                                PRIORITY" column.

                                                                                3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                                                                                PRIORITY, IF ANY" column

                                                                                4. Total from Schedule F                                                                                    $8,990.00

                                                                                5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                            $453,572.13
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                                                                               In re: Giuberti, Luiz                                                                 Case No. 4:15-bk-41753



                                                                                                                              SCHEDULE A - REAL PROPERTY


                                                                                         Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property
                                                                               owned as a cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers
                                                                               exercisable for the debtor’s own benefit. If the debtor is married, state whether the Debtor 1 (the debtor), Debtor 2 (the debtor's spouse), both, or
                                                                               the marital community own the property by placing an "1," "2," "J," or "C" in the column labeled "Owner." If the debtor holds no interest in real
                                                                               property, write "None" under "Description and Location of Property."

                                                                                        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory
                                                                               Contracts and Unexpired Leases.

                                                                                          If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no
                                                                               entity claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim."

                                                                                          If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C
                                                                               - Property Claimed as Exempt.


                                                                                                                                                                             CURRENT VALUE OF
                                                                                                                                                                     O       DEBTOR'S INTEREST
                                                                                                                                                                     W         IN PROPERTY,
                                                                                    DESCRIPTION AND                            NATURE OF DEBTOR’S                                                                AMOUNT OF
                                                                                                                                                                     N           WITHOUT
                                                                                  LOCATION OF PROPERTY                        INTEREST IN PROPERTY                                                             SECURED CLAIM
                                                                                                                                                                     E        DEDUCTING ANY
                                                                                                                                                                     R       SECURED CLAIM OR
                                                                                                                                                                                EXEMPTION

                                                                                26 Ivy Lane, Milford, MA                 Tenants by the Entirety                                        $284,000.00                    $380,185.62
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                                                                                01757

                                                                                7361 Woodbriar Ct,                                                                                      $300,000.00                    $648,396.51
                                                                                Orlando FL 32835

                                                                                                                                                       Totals                           $584,000.00                  $1,028,582.13




                                                                               Schedule A                                                                                                                                          Page 1
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                                                                               In re: Giuberti, Luiz                                                              Case No. 4:15-bk-41753



                                                                                                                             SCHEDULE B - PERSONAL PROPERTY


                                                                                         Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the
                                                                               categories, place an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate
                                                                               sheet properly identified with the case name, case number, and the number of the category. If the debtor is married, state whether Debtor 1 (the
                                                                               debtor), Debtor 2 (the Debtor's spouse), both, or the marital community own the property by placing an "1," "2," "J," or "C" in the column labeled
                                                                               "Owner." If the debtor is an individual or a joint petition is filed, state the amount of any exemptions claimed only in Schedule C - Property
                                                                               Claimed as Exempt.

                                                                                       Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts
                                                                               and Unexpired Leases.

                                                                                         If the property is being held for the debtor by someone else, state that person’s name and address under "Description and Location of
                                                                               Property." If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or
                                                                               guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P.
                                                                               1007(m).




                                                                                                                                                                                                         CURRENT VALUE OF
                                                                                                                                                                                                 O       DEBTOR'S INTEREST
                                                                                                                               N
                                                                                                                                                                                                 W         IN PROPERTY,
                                                                                                                               O
                                                                                      TYPE OF PROPERTY                                DESCRIPTION AND LOCATION OF PROPERTY                       N           WITHOUT
                                                                                                                               N
                                                                                                                                                                                                 E        DEDUCTING ANY
                                                                                                                               E
                                                                                                                                                                                                 R       SECURED CLAIM OR
                                                                                                                                                                                                            EXEMPTION
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                                                                                1. Cash on hand.                                      Walking Around Money                                                                 $55.00
                                                                                2. Checking, savings or other financial               Santander - Business Account - Limo                                              $4,469.21
                                                                                accounts, certificates of deposit or
                                                                                shares in banks, savings and loan, thrift,
                                                                                                                                      Service DBA - x9427
                                                                                building and loan, and homestead                      Santander Personal Bank Account -                                                  $163.86
                                                                                associations, or credit unions, brokerage             Checking x8220 (Joint with Spouse)
                                                                                houses, or cooperatives.
                                                                                                                                      Santander Personal Savings Account                                                 $217.13
                                                                                                                                      x4421 (Joint with Spouse)
                                                                                3. Security deposits with public               X
                                                                                utilities, telephone companies, landlords,
                                                                                and others.

                                                                                4. Household goods and furnishings,                   Household Goods and Furnishings                                                $10,000.00
                                                                                including audio, video, and computer
                                                                                equipment.

                                                                                5. Books; pictures and other art objects;             Model Cars                                                                       $6,500.00
                                                                                antiques; stamp, coin, record, tape,
                                                                                compact disc, and other collections or
                                                                                collectibles.

                                                                                6. Wearing apparel.                                   Clothing and Shoes                                                                 $500.00
                                                                                7. Furs and jewelry.                                  Jewelry                                                                          $1,200.00
                                                                                8. Firearms and sports, photographic,          X
                                                                                and other hobby equipment.

                                                                                9. Interests in insurance policies. Name       X
                                                                                insurance company of each policy and
                                                                                itemize surrender or refund value of each.




                                                                               Schedule B                                                                                                                                        Page 1
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                                                                                                                                                                                     CURRENT VALUE OF
                                                                                                                                                                                 O   DEBTOR'S INTEREST
                                                                                                                                N
                                                                                                                                                                                 W     IN PROPERTY,
                                                                                                                                O
                                                                                      TYPE OF PROPERTY                                 DESCRIPTION AND LOCATION OF PROPERTY      N       WITHOUT
                                                                                                                                N
                                                                                                                                                                                 E    DEDUCTING ANY
                                                                                                                                E
                                                                                                                                                                                 R   SECURED CLAIM OR
                                                                                                                                                                                        EXEMPTION
                                                                                10. Annuities. Itemize and name each            X
                                                                                issuer.

                                                                                11. Interests in an education IRA as            X
                                                                                defined in 26 U.S.C. § 530(b)(1) or under
                                                                                a qualified State tuition plan as defined
                                                                                in 26 U.S.C. § 529(b)(1). Give
                                                                                particulars. (File separately the record(s)
                                                                                of any such interest(s). 11 U.S.C. §
                                                                                521(c).)

                                                                                12. Interests in IRA, ERISA, Keogh, or          X
                                                                                other pension or profit sharing plans.
                                                                                Give particulars.

                                                                                13. Stock and interests in incorporated         X
                                                                                and unincorporated businesses. Itemize.

                                                                                14. Interests in partnerships or joint          X
                                                                                ventures. Itemize.

                                                                                15. Government and corporate bonds and          X
                                                                                other negotiable and nonnegotiable
                                                                                instruments.

                                                                                16. Accounts receivable.                               Janet Pastore - Missing Rental Payments                $8,000.00
                                                                                                                                       for Tenancy at 61F Foxmeadow Rd,
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                                                                                                                                       Leominster ($1200 per month); 90 days;
                                                                                                                                       allowance for bad debt $0.00
                                                                                17. Alimony, maintenance, support, and          X
                                                                                property settlements to which the debtor
                                                                                is or may be entitled. Give particulars.

                                                                                18. Other liquidated debts owed to debtor       X
                                                                                including tax refunds. Give particulars.

                                                                                19. Equitable or future interests, life         X
                                                                                estates, and rights or powers exercisable
                                                                                for the benefit of the debtor other than
                                                                                those listed in Schedule A – Real
                                                                                Property.

                                                                                20. Contingent and noncontingent                X
                                                                                interests in estate of a decedent, death
                                                                                benefit plan, life insurance policy, or
                                                                                trust.

                                                                                21. Other contingent and unliquidated           X
                                                                                claims of every nature, including tax
                                                                                refunds, counterclaims of the debtor, and
                                                                                rights to setoff claims. Give estimated
                                                                                value of each.

                                                                                22. Patents, copyrights, and other              X
                                                                                intellectual property. Give particulars.

                                                                                23. Licenses, franchises, and other             X
                                                                                general intangibles. Give particulars.




                                                                               Schedule B                                                                                                           Page 2
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                                                                               Giuberti, Luiz                                                                                                4:15-bk-41753



                                                                                                                                                                                     CURRENT VALUE OF
                                                                                                                                                                                 O   DEBTOR'S INTEREST
                                                                                                                             N
                                                                                                                                                                                 W     IN PROPERTY,
                                                                                                                             O
                                                                                      TYPE OF PROPERTY                              DESCRIPTION AND LOCATION OF PROPERTY         N       WITHOUT
                                                                                                                             N
                                                                                                                                                                                 E    DEDUCTING ANY
                                                                                                                             E
                                                                                                                                                                                 R   SECURED CLAIM OR
                                                                                                                                                                                        EXEMPTION
                                                                                24. Customer lists or other compilations     X
                                                                                containing personally identifiable
                                                                                information (as defined in 11 U.S.C. §
                                                                                101(41A)) provided to the debtor by
                                                                                individuals in connection with obtaining
                                                                                a product or service from the debtor
                                                                                primarily for personal, family, or
                                                                                household purposes.

                                                                                25. Automobiles, trucks, trailers, and              2002 Ford Econo Van 449,000 Miles; 2002                   $2,300.00
                                                                                other vehicles and accessories.
                                                                                                                                    Ford EconoVan, mileage: 449000
                                                                                26. Boats, motors, and accessories.          X
                                                                                27. Aircraft and accessories.                X
                                                                                28. Office equipment, furnishings, and       X
                                                                                supplies.

                                                                                29. Machinery, fixtures, equipment, and      X
                                                                                supplies used in business.

                                                                                30. Inventory.                               X
                                                                                31. Animals.                                 X
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                                                                                32. Crops - growing or harvested. Give       X
                                                                                particulars.

                                                                                33. Farming equipment and implements.        X
                                                                                34. Farm supplies, chemicals, and feed.      X
                                                                                35. Other personal property of any kind             Fraudulent Transfer of property located                       $0.00
                                                                                not already listed. Itemize.
                                                                                                                                    7361 Woodbrier Ct Orlando, Florida on
                                                                                                                                    March 19, 2015 committed by Global
                                                                                                                                    Business Serv Worldwide Inc and Adele
                                                                                                                                    and Sybil Singh and Totaram Singh.
                                                                                                                                    Although the property was underwater,
                                                                                                                                    Debtor believes fraud damages may arise.
                                                                                                                                    Potential Predatory Lending Claim against                     $0.00
                                                                                                                                    OneWest Bank relating to the real property
                                                                                                                                    located at 26 Ivy Lane, Milford, MA

                                                                                                                                                                         Total               $33,405.20




                                                                               Schedule B                                                                                                           Page 3
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                                                                               In re: Giuberti, Luiz                                                      Case No. 4:15-bk-41753



                                                                                                            SCHEDULE C - PROPERTY CLAIMED AS EXEMPT


                                                                               Debtor claims the exemptions to which the debtor is entitled under:        Check if debtor claims a homestead exemption that exceeds
                                                                                                                                                          $155,675.00
                                                                                    11 U.S.C. § 522(b)(2) [Federal Exemptions (04/13)]

                                                                                    11 U.S.C. § 522(b)(3) [MA state exemptions]




                                                                                                                                                                                          CURRENT VALUE OF
                                                                                      DESCRIPTION OF                    SPECIFY LAW PROVIDING            VALUE OF CLAIMED
                                                                                                                                                                                         PROPERTY WITHOUT
                                                                                        PROPERTY                           EACH EXEMPTION                   EXEMPTION
                                                                                                                                                                                        DEDUCTING EXEMPTION

                                                                                26 Ivy Lane, Milford, MA               11 U.S.C. § 522(d)(1)                                 $0.00                      $284,000.00
                                                                                01757

                                                                                7361 Woodbriar Ct,                     11 U.S.C. § 522(d)(5)                                 $0.00                      $300,000.00
                                                                                Orlando FL 32835

                                                                                Walking Around Money                   11 U.S.C. § 522(d)(5)                               $55.00                              $55.00

                                                                                Santander - Business                   11 U.S.C. § 522(d)(5)                           $4,469.21                           $4,469.21
                                                                                Account - Limo Service
                                                                                DBA - x9427
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                                                                                Santander Personal Bank                11 U.S.C. § 522(d)(5)                              $163.86                            $163.86
                                                                                Account - Checking x8220
                                                                                (Joint with Spouse)

                                                                                Santander Personal                     11 U.S.C. § 522(d)(5)                              $217.13                            $217.13
                                                                                Savings Account x4421
                                                                                (Joint with Spouse)

                                                                                Household Goods and                    11 U.S.C. § 522(d)(3)                          $10,000.00                          $10,000.00
                                                                                Furnishings

                                                                                Model Cars                             11 U.S.C. § 522(d)(5)                           $6,500.00                           $6,500.00

                                                                                Clothing and Shoes                     11 U.S.C. § 522(d)(3)                              $500.00                            $500.00

                                                                                Jewelry                                11 U.S.C. § 522(d)(4)                           $1,200.00                           $1,200.00

                                                                                Janet Pastore - Missing                11 U.S.C. § 522(d)(5)                           $1,319.80                           $8,000.00
                                                                                Rental Payments for
                                                                                Tenancy at 61F
                                                                                Foxmeadow Rd,
                                                                                Leominster ($1200 per
                                                                                month)

                                                                                2002 Ford Econo Van                    11 U.S.C. § 522(d)(2)                           $2,300.00                           $2,300.00
                                                                                449,000 Miles

                                                                                                                                                Totals                $26,725.00                        $617,405.20




                                                                               Schedule C                                                                                                                             Page 1
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                                                                                                     SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

                                                                                          State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by
                                                                               property of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to
                                                                               the trustee and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment
                                                                               liens, garnishments, statutory liens, mortgages, deeds of trust, and other security interests.
                                                                                          List creditors in alphabetical order to the extent practicable. If a minor child is the creditor, state the child's initials and the name and
                                                                               address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C.
                                                                               §112 and Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.
                                                                                          If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include
                                                                               the entity on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether Debtor 1 (the
                                                                               debtor), Debtor 2 (the debtor's spouse), both of them, or the marital community may be liable on each claim by placing an "1," "2," "J," or "C" in
                                                                               the column labeled "Obligor."
                                                                                          If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column
                                                                               labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of
                                                                               these three columns.)
                                                                                          Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled
                                                                               "Total(s)" on the last sheet of the completed schedule. Report the total from the column labeled "Amount of Claim Without Deducting Value of
                                                                               Collateral" also on the Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report the total from the column
                                                                               labeled "Unsecured Portion, if Any" on the Statistical Summary of Certain Liabilities and Related Data.

                                                                                   Check this box if debtor has no creditors holding secured claims to report on this Schedule D.


                                                                                                                                                                                          U
                                                                                                                                                                                     C    N
                                                                                                                              C                                                      O    L    D
                                                                                                                                   O
                                                                                                                              O                                                      N    I    I     AMOUNT OF
                                                                                                                                   B
                                                                                CREDITOR’S NAME AND MAILING                   D           DATE CLAIM WAS INCURRED,                   T    Q    S        CLAIM
                                                                                                                                   L                                                                                      UNSECURED
                                                                                 ADDRESS INCLUDING ZIP CODE                   E              NATURE OF LIEN, AND                     I    U    P       WITHOUT
                                                                                                                                   I                                                                                      PORTION, IF
                                                                                 AND AN ACCOUNT NUMBER (See                   B           DESCRIPTION AND VALUE OF                   N    I    U      DEDUCTING
                                                                                                                                   G                                                                                         ANY
                                                                                       Instructions Above.)                   T           PROPERTY SUBJECT TO LIEN                   G    D    T       VALUE OF
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                                                                                                                                   O
                                                                                                                              O                                                      E    A    E     COLLATERAL
                                                                                                                                   R
                                                                                                                              R                                                      N    T    D
                                                                                                                                                                                     T    E
                                                                                                                                                                                          D

                                                                                Account No.: -4535                                      03/15/2006

                                                                                Americas Servicing Co                                   ConventionalRealEstateMortga
                                                                                7495 New Horizon Way                                    ge
                                                                                Frederick, MD 21703                                                                                            X      $648,396.51         $348,396.51
                                                                                                                                        7361 Woodbriar Ct, Orlando
                                                                                                                                        FL 32835

                                                                                                                                        Value: $300,000.00

                                                                                Account No.: -8083                                      UNKNOWN

                                                                                Onewest Bank                                            First Loan
                                                                                a division of CIT Bank, N.A.                                                                                   X      $380,185.62          $96,185.62
                                                                                888 East Walnut Street                                  26 Ivy Lane, Milford, MA 01757
                                                                                Pasadena, CA 91101
                                                                                                                                        Value: $284,000.00

                                                                                                                                                                          Totals                    $1,028,582.13         $444,582.13




                                                                               Schedule D                                                                                                                                        Page 1
                                                                                            Case 15-41753               Doc 18        Filed 10/01/15 Entered 10/01/15 14:39:57                               Desc Main
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                                                                                       SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

                                                                                     A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
                                                                               unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address,
                                                                               including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the property of the
                                                                               debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with the type of priority.
                                                                                     The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the
                                                                               debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such
                                                                               as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                                                     If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the
                                                                               entity on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether Debtor 1 (the debtor),
                                                                               Debtor 2 (the debtor's spouse), both of them, or the marital community may be liable on each claim by placing an "1," "2," "J," or "C" in the column
                                                                               labeled "Obligor." If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the
                                                                               column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than
                                                                               one of these three columns.)
                                                                                     Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this
                                                                               Schedule E in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
                                                                                     Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts
                                                                               entitled to priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with
                                                                               primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.
                                                                                     Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all
                                                                               amounts not entitled to priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors
                                                                               with primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

                                                                                    Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.



                                                                                    Domestic Support Obligations

                                                                                    Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
                                                                               or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
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                                                                               11 U.S.C. § 507(a)(1).

                                                                                    Extensions of credit in an involuntary case

                                                                                    Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of
                                                                               the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

                                                                                    Wages, salaries, and commissions

                                                                                    Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
                                                                               independent sales representatives up to $12,475.00* per person earned within 180 days immediately preceding the filing of the original petition, or
                                                                               the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

                                                                                    Contributions to employee benefit plans

                                                                                    Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
                                                                               cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

                                                                                    Certain farmers and fishermen

                                                                                    Claims of certain farmers and fishermen, up to $6,150.00* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

                                                                                    Deposits by individuals

                                                                                     Claims of individuals up to $2,775.00* for deposits for the purchase, lease, or rental of property or services for personal, family, or household
                                                                               use, that were not delivered or provided. 11 U.S.C. § 507(a)(7).




                                                                               Schedule E                                                                                                                                           Page 1
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                                                                                    Taxes and Certain Other Debts Owed to Governmental Units

                                                                                    Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

                                                                                    Commitments to Maintain the Capital of an Insured Depository Institution

                                                                                    Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
                                                                               Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
                                                                               § 507 (a)(9).

                                                                                    Claims for Death or Personal Injury While Debtor Was Intoxicated

                                                                                    Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
                                                                               alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).



                                                                               * Amounts are subject to adjustment on 04/01/2016, and every three years thereafter with respect to cases commenced on or after the date of
                                                                               adjustment.
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                                                                               Schedule E                                                                                                                                       Page 2
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                                                                                   SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

                                                                                          State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims
                                                                               without priority against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account
                                                                               the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a
                                                                               creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
                                                                               Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not include claims listed in Schedules D and E. If all
                                                                               creditors will not fit on this page, use the continuation sheet provided.

                                                                                          If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include
                                                                               the entity on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether Debtor 1 (the
                                                                               debtor), Debtor 2 (the debtor's spouse), both of them, or the marital community may be liable on each claim by placing an "1," "2," "J," or "C" in
                                                                               the column labeled "Obligor."

                                                                                         If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column
                                                                               labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of
                                                                               these three columns.)

                                                                                          Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this
                                                                               total also on the Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical
                                                                               Summary of Certain Liabilities and Related Data.

                                                                                   Check this box if debtor has no creditors holding unsecured nonpriority claims to report on this Schedule F.


                                                                                                                                                                                                             U
                                                                                                                                                                                                        C    N
                                                                                                                                       C                                                                O    L     D
                                                                                                                                            O
                                                                                                                                       O                                                                N    I     I
                                                                                                                                            B
                                                                                                                                       D                                                                T    Q     S
                                                                                   CREDITOR’S NAME AND MAILING                              L      DATE CLAIM WAS INCURRED AND
                                                                                                                                       E                                                                I    U     P    AMOUNT OF
                                                                                  ADDRESS INCLUDING ZIP CODE AND                            I    CONSIDERATION FOR CLAIM. IF CLAIM IS
                                                                                                                                       B                                                                N    I     U      CLAIM
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                                                                                ACCOUNT NUMBER (See Instructions Above.)                    G       SUBJECT TO SETOFF, SO STATE.
                                                                                                                                       T                                                                G    D     T
                                                                                                                                            O
                                                                                                                                       O                                                                E    A     E
                                                                                                                                            R
                                                                                                                                       R                                                                N    T     D
                                                                                                                                                                                                        T    E
                                                                                                                                                                                                             D

                                                                                Account No.: -9427                                               07/01/2006

                                                                                Bk Of Amer                                                                                                                                       $0.00
                                                                                Pob 15026
                                                                                Wilmington, DE 19801

                                                                                Account No.: 69                                                  04/22/2004

                                                                                Bk Of Amer                                                       CheckCreditOrLineOfCredit                                                       $0.00
                                                                                P.O. Box 982235
                                                                                El Paso, TX 79998

                                                                                Account No.:                                                     07/13/2006

                                                                                Bk Of Amer                                                       HomeEquityLineOfCredit                                                          $0.00
                                                                                450 American St
                                                                                Simi Valley, CA 93065

                                                                                Account No.: -3769                                               03/01/2006

                                                                                Cap One                                                          UnknownLoanType                                                   X             $0.00
                                                                                P.O. Box 85064
                                                                                Glen Allen, VA 23285




                                                                               Schedule F                                                                                                                                          Page 1
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                                                                                                                                                                              U
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                                                                                                                           C                                              O   L   D
                                                                                                                               O
                                                                                                                           O                                              N   I   I
                                                                                                                               B
                                                                                                                           D                                              T   Q   S
                                                                                   CREDITOR’S NAME AND MAILING                 L     DATE CLAIM WAS INCURRED AND
                                                                                                                           E                                              I   U   P   AMOUNT OF
                                                                                  ADDRESS INCLUDING ZIP CODE AND               I   CONSIDERATION FOR CLAIM. IF CLAIM IS
                                                                                                                           B                                              N   I   U     CLAIM
                                                                                ACCOUNT NUMBER (See Instructions Above.)       G      SUBJECT TO SETOFF, SO STATE.
                                                                                                                           T                                              G   D   T
                                                                                                                               O
                                                                                                                           O                                              E   A   E
                                                                                                                               R
                                                                                                                           R                                              N   T   D
                                                                                                                                                                          T   E
                                                                                                                                                                              D

                                                                                Account No.: -1288                                 01/08/2015

                                                                                Credit One Bank                                    CreditCard                                             $870.00
                                                                                P.O. Box 98875
                                                                                Las Vegas, NV 89193

                                                                                Account No.: -9000                                 06/01/2015

                                                                                First Data                                         Lease                                               $4,050.00
                                                                                265 Broad Hollow R
                                                                                Melville, NY 11747

                                                                                Account No.: -1000                                 05/01/2015

                                                                                First Data                                         Lease                                               $4,050.00
                                                                                265 Broad Hollow R
                                                                                Melville, NY 11747
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                                                                                Account No.: -3670                                 06/08/2015

                                                                                Ntb Cbna                                           ChargeAccount                                            $0.00
                                                                                P.O. Box 6497
                                                                                Sioux Falls, SD 57117

                                                                                Account No.: -6674                                 01/20/2015

                                                                                Td Bank Usa Targetcred                             CreditCard                                              $20.00
                                                                                P.O. Box 673
                                                                                Minneapolis, MN 55440

                                                                                                                                                                  Total                $8,990.00




                                                                               Schedule F                                                                                                     Page 2
                                                                                            Case 15-41753              Doc 18         Filed 10/01/15 Entered 10/01/15 14:39:57                              Desc Main
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                                                                               In re: Giuberti, Luiz                                                                 Case No. 4:15-bk-41753



                                                                                          SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES


                                                                                          Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State
                                                                               nature of debtor’s interest in contract, i.e., "Purchaser," "Agent," etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
                                                                               complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
                                                                               state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
                                                                               disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                                   Check this box if debtor has no executory contracts or unexpired leases.


                                                                                                                                                              DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
                                                                                  NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                                DEBTOR’S INTEREST. STATE WHETHER LEASE IS FOR
                                                                                     OF OTHER PARTIES TO LEASE OR CONTRACT                                    NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                                                                                                                                                                  NUMBER OF ANY GOVERNMENT CONTRACT.

                                                                                (None)
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                                                                               Schedule G                                                                                                                                          Page 1
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                                                                                                                                SCHEDULE H - CODEBTORS


                                                                                          Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts
                                                                               listed by the debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property
                                                                               state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington,
                                                                               or Wisconsin) within the eight-year period immediately preceding the commencement of the case, identify the name of the debtor’s spouse and of
                                                                               any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used by the
                                                                               nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor, state the
                                                                               child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose
                                                                               the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                                   Check this box if debtor has no codebtors.


                                                                                             NAME AND ADDRESS OF CODEBTOR                                              NAME AND ADDRESS OF CREDITOR

                                                                                (None)
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                                                                               Schedule H                                                                                                                                   Page 1
                                                                                                Case 15-41753            Doc 18        Filed 10/01/15 Entered 10/01/15 14:39:57                       Desc Main
                                                                                                                                        Document     Page 16 of 32
                                                                                     Fill in this information to identify your case:


                                                                                     Debtor 1      Luiz G. Giuberti

                                                                                     Debtor 2                                                                                                  Check if this is:
                                                                                     (Spouse, if filing)                                                                                           An amended filing
                                                                                                                                                                                                   A supplement showing
                                                                                     United States Bankruptcy Court for the District of Massachusetts                                              post-petition chapter 13
                                                                                                                                                                                                   income as of
                                                                                     Case number
                                                                                     4:15-bk-41753
                                                                                     (If known)




                                                                               Official Form 6I
                                                                               Schedule I: Your Income                                                                                                                 12/13


                                                                               Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
                                                                               supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
                                                                               spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
                                                                               attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


                                                                                Part 1:            Describe Employment

                                                                                1.     Fill in your employment                                             Debtor 1                          Debtor 2 or non-filing spouse
                                                                                       information                         Employment status                  Employed                          Employed
                                                                                                                                                              Not employed                      Not employed
                                                                                       If you have more than one job,
                                                                                       attach a separate page with         Occupation                      Manager                           Owner
                                                                                       information about additional        Employer's name                 Giuberti Decoration, Inc.         Giuberti Decoration, Inc.
                                                                                       employers.                          Employer's address              26 Ivy Lane                       26 Ivy Lane
                                                                                                                                                           Milford, MA 01757                 Milford, MA 01757
                                                                                       Include part-time, seasonal, or
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                                                                                       self-employed work.                 How long employed there?        3 Years                           6 Years

                                                                                       Occupation may include student or
                                                                                       homemaker, if it applies.

                                                                                       Also see supplementary information re additional employment.

                                                                                Part 2:            Give Details About Monthly Income

                                                                                                                                                                                                                For Debtor 2 or
                                                                                                                                                                                             For Debtor 1         non-filing
                                                                                                                                                                                                                    spouse

                                                                                2.     List monthly gross wages, salary, and commissions before all payroll deductions).                2.     $4,762.74            $1,560.00
                                                                                       If not paid monthly, calculate what the monthly wage would be.

                                                                                3.     Estimate and list monthly overtime pay.                                                          3.           $0.00               $0.00
                                                                                4.     Calculate gross income. Add line 2 + line 3.                                                     4.     $4,762.74            $1,560.00
                                                                                5.     List All payroll deductions:

                                                                                       5a. Tax, Medicare, and Social Security deductions                                               5a.        $277.85             $277.85
                                                                                       5b. Mandatory contributions for retirement plans                                                5b.           $0.00               $0.00
                                                                                       5c. Voluntary contributions for retirement plans                                                5c.           $0.00               $0.00
                                                                                       5d. Required repayments of retirement fund loans                                                5d.           $0.00               $0.00
                                                                                       5e. Insurance                                                                                   5e.           $0.00               $0.00
                                                                                       5f.   Domestic support obligations                                                              5f.           $0.00               $0.00
                                                                                       5g. Union dues                                                                                  5g.           $0.00               $0.00
                                                                                       5h. Other deductions. Specify:                                                                  5h.           $0.00               $0.00

                                                                               Official Form 6I                                                 Schedule I: Your Income                                                      Page 1
                                                                               Debtor 1     Case
                                                                                           Luiz       15-41753
                                                                                                G. Giuberti            Doc 18         Filed 10/01/15 Entered 10/01/15 14:39:57                       Desc   Main
                                                                                                                                                                                                     Case number:4:15-bk-41753
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                                                                                                                                                                                                             For Debtor 2 or
                                                                                                                                                                                            For Debtor 1       non-filing
                                                                                                                                                                                                                 spouse

                                                                                6.   Add the payroll deductions. Add lines 5a through 5h                                               6.       $277.85            $277.85
                                                                                7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                               7.     $4,484.89          $1,282.15
                                                                                8.   List all other income regularly received:

                                                                                     8a. Net income from rental property and from operating a business, profession,                   8a.            $0.00           $0.00
                                                                                         or farm

                                                                                           Attach a statement for each property and business showing gross receipts,
                                                                                           ordinary and necessary business expenses, and the total monthly net income.

                                                                                     8b. Interest and dividends                                                                       8b.            $0.00           $0.00
                                                                                     8c. Family support payments that you, a non-filing spouse, or a dependent                        8c.            $0.00           $0.00
                                                                                         regularly receive

                                                                                           Include alimony, spousal support, child support, maintenance, divorce settlement,
                                                                                           and property settlement.

                                                                                     8d. Unemployment compensation                                                                    8d.            $0.00           $0.00
                                                                                     8e. Social Security                                                                              8e.            $0.00           $0.00
                                                                                     8f.   Other government assistance that you regularly receive                                     8f.            $0.00           $0.00
                                                                                           Include cash assistance and the value (if known) of any non-cash assistance that
                                                                                           you receive, such as food stamps (benefits under the Supplemental Nutrition
                                                                                           Assistance Program) or housing subsidies. Specify:

                                                                                     8g. Pension or retirement income                                                                 8g.            $0.00           $0.00
                                                                                     8h. Other monthly income. Specify:                                                               8h.            $0.00           $0.00
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                                                                                9.   Add all other income. Add lines 8a-8h.                                                            9.            $0.00           $0.00
                                                                                10. Calculate monthly income. Add line 7 + line 9.                                                             10.      $5,767.04
                                                                                    Add the entries in line 9 for Debtor 1 and Debtor 2 or non-filing spouse.

                                                                                11. State all other regular contributions to the expenses that you list in Schedule J.                         11.           $0.00
                                                                                     Include contributions from an unmarried partner, members of your household, your dependents,
                                                                                     your roommates, and other friends or relatives.

                                                                                     Do not include any amounts already included in lines 2-10 or amounts that are not available to
                                                                                     pay expenses listed in Schedule J.

                                                                                     Specify:

                                                                                12. Add the amounts on lines 10 and 11. The result is the combined monthly income. Also write                  12.
                                                                                    that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and                          $5,767.04
                                                                                    Related Data, if it applies.

                                                                                13. Do you expect an increase or decrease within the year after you file this form?


                                                                                           No
                                                                                           Yes.
                                                                                           Explain.....




                                                                               Official Form 6I                                                Schedule I: Your Income                                                 Page 2
                                                                                                Case 15-41753              Doc 18        Filed 10/01/15 Entered 10/01/15 14:39:57                           Desc Main
                                                                                                                                          Document     Page 18 of 32
                                                                                     Fill in this information to identify your case:


                                                                                     Debtor 1       Luiz G. Giuberti                                                                                Check if this is:
                                                                                                                                                                                                        An amended filing
                                                                                     Debtor 2                                                                                                           A supplement showing
                                                                                     (Spouse, if filing)                                                                                                post-petition chapter 13
                                                                                                                                                                                                        expenses as of
                                                                                     United States Bankruptcy Court for the District of Massachusetts                                                   A separate filing for Debtor
                                                                                                                                                                                                        2 because Debtor 2
                                                                                     Case number                                                                                                        maintains a separate
                                                                                     4:15-bk-41753                                                                                                      household
                                                                                     (If known)




                                                                               Official Form 6J
                                                                               Schedule J: Your Expenses                                                                                                                    12/13


                                                                               Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
                                                                               information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
                                                                               number (if known). Answer every question.


                                                                                Part 1:             Describe Your Household

                                                                                1.     Is this a joint case?

                                                                                             No. Go to line 2.
                                                                                             Yes. Does Debtor 2 live in a separate household?

                                                                                                    No.
                                                                                                    Yes. Debtor 2 must file a separate Schedule J.

                                                                                2.     Do you have dependents?                                           Dependent's              Dependent's age             Does dependent live
                                                                                                                                  No                     relationship to Debtor                               with you?
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                                                                                       Do not list Debtor 1 or Debtor 2.          Yes. Fill out this     1 or Debtor 2
                                                                                                                                  information for
                                                                                       Do not state the dependents'               each dependent
                                                                                       names.

                                                                                3.     Do your expenses include expenses of people other than yourself and your                   No
                                                                                       dependents?                                                                                Yes

                                                                                Part 2:             Estimate Your Ongoing Monthly Expenses

                                                                                Estimate your expenses as your bankruptcy filing date unless you are using this form as supplement in a Chapter 13 case to report expenses as of a
                                                                                date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the applicable date

                                                                                Include expenses paid for with non-cash governmental assistance if you know the value of such assistance and have included it on Schedule I: Your
                                                                                Income (Official Form 6I).

                                                                                Note: Expenses for property other than the debtor(s)' primary residence(s), if any, are reported in the Summary of Business/Real-Estate Income &
                                                                                Expense annexed to Schedule I.

                                                                                Note: Monthly payments that are being made through the Chapter 13 Plan, if any, are not included in the expenses listed on this schedule.

                                                                                                                                                                                                            Your expenses

                                                                                4.     The rental or home ownership expenses for your residence. Include first                                         4.      $2,821.38
                                                                                       mortgage payments and any rent for the ground or lot.

                                                                                       If not included in line 4:

                                                                                       4a. Real estate taxes                                                                                         4a.

                                                                                       4b. Property, homeowner's, or renter's insurance                                                              4b.

                                                                                       4c. Home maintenance, repair, and upkeep expenses                                                              4c.

                                                                                       4d. Homeowner's association or condominium dues                                                               4d.

                                                                                5.     Additional mortgage payments for your residence, such as home equity loans                                      5.

                                                                                6.     Utilities:


                                                                               Official Form 6J                                                   Schedule J: Your Expenses                                                     Page 1
                                                                               Debtor 1    Case
                                                                                          Luiz       15-41753
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                                                                                     6a. Electricity, heat, natural gas                                                              6a.        $310.00
                                                                                     6b. Water, sewer, garbage collection                                                            6b.         $25.00
                                                                                     6c. Telephone, cell phone, Internet, satellite, and cable services                              6c.        $218.00
                                                                                     6d. Other. Specify: N/A                                                                         6d.

                                                                                7.   Food and housekeeping supplies                                                                   7.        $500.00
                                                                                8.   Childcare and children’s education costs                                                         8.

                                                                                9.   Clothing, laundry, and dry cleaning                                                              9.        $180.00
                                                                                10. Personal care products and services                                                              10.        $320.00
                                                                                11. Medical and dental expenses                                                                      11.         $20.00
                                                                                12. Transportation. Include gas, maintenance, bus or train fare.                                     12.        $310.00
                                                                                    Do not include car payments.

                                                                                13. Entertainment, clubs, recreation, newspapers, magazine, and books                                13.        $100.00
                                                                                14. Charitable contributions and religious donations                                                 14.        $210.00
                                                                                15. Insurance.
                                                                                    Do not include insurance deducted from your pay or included in lines 4 or 20.

                                                                                     15a. Life insurance                                                                            15a.

                                                                                     15b. Health insurance                                                                          15b.        $422.00
                                                                                     15c. Vehicle insurance                                                                         15c.        $158.00
                                                                                     15d. Other insurance. Specify: N/A                                                             15d.

                                                                                16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20. Specify: N/A    16.
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                                                                                17. Installment or lease payments

                                                                                18. Your payments of alimony, maintenance, and support that you did not report as                    18.
                                                                                    deducted from your pay on line 5, Schedule I, Your Income (Official Form 6I)

                                                                                19. Other payments you make to support others who do not live with you.                              19.
                                                                                    Specify: N/A

                                                                                20. Other real property expenses not included in lines 4 or 5 of this form or on
                                                                                    Schedule I: Your Income

                                                                                     20a. Mortgages on other property                                                               20a.

                                                                                     20b. Real estate taxes                                                                         20b.

                                                                                     20c. Property, homeowner's, or renter's insurance                                              20c.

                                                                                     20d. Maintenance, repair, and upkeep expenses                                                  20d.

                                                                                     20e. Homeowner's association or condominium dues                                               20e.

                                                                                     20f. Other. Specify:                                                                           20f.

                                                                                21. Other. Specify: N/A                                                                              21.

                                                                                22. Calculate your monthly expenses.

                                                                                     22a. Add lines 4 through 21.                                                                   22a.      $5,594.38
                                                                                     22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Debtor 2's separate form       22b.

                                                                                     22c. Add line 22a and 22b. The result is your monthly expenses.                                22c.      $5,594.38


                                                                                23. Calculate your monthly net income

                                                                                     23a. Copy line 12 (your combined monthly income) from Schedule I                               23a.      $5,767.04

                                                                               Official Form 6J                                              Schedule J: Your Expenses                                       Page 2
                                                                               Debtor 1    Case
                                                                                          Luiz       15-41753
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                                                                                                                                                                                                          Your expenses

                                                                                     23b. Copy your monthly expenses from line 22 above.                                                          23b.       $5,594.38
                                                                                     23c. Subtract your monthly expenses from your monthly income.                                                 23c.        $172.66
                                                                                          The result is your monthly net income

                                                                                24. Do you expect an increase or decrease in your expenses within the year after you file this form?

                                                                                     For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease
                                                                                     because of a modification to the terms of your mortgage?


                                                                                          No
                                                                                          Yes.
                                                                                          Explain.....
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                                                                               Official Form 6J                                             Schedule J: Your Expenses                                                         Page 3
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                                                                               In re: Giuberti, Luiz                                                             Case No. 4:15-bk-41753


                                                                                                       DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                                                                                    DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

                                                                                I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of 20 sheets, and that they are true and
                                                                               correct to the best of my knowledge, information, and belief.


                                                                               /s/ Luiz G. Giuberti                                                                                                     10/01/2015
                                                                               Debtor                                                                                                                   Date

                                                                               /s/ N/A                                                                                                                  N/A
                                                                               Joint Debtor                                                                                                             Date
                                                                                                                                                                           [If joint case, both spouses must sign.]



                                                                                     DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

                                                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document
                                                                               for compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§
                                                                               110(b), 110(h), and 342(b); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for
                                                                               services chargeable by bankruptcy petition preparers, I have given the debtor notice of the maximum amount before preparing any document for
                                                                               filing for a debtor or accepting any fee from the debtor, as required by that section.

                                                                                                       This section of the signature page is not relevant to this Petition because the BkAssist® software
                                                                                                          used to produce this petition is not licensed for use by paid bankruptcy petition preparers.

                                                                               If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social-security number of the officer,
                                                                               principal, responsible person, or partner who signs this document.

                                                                               Names and Social-Security numbers of all other individuals who prepared or assisted in preparing this document unless the bankruptcy petition
                                                                               preparer is not an individual:
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                                                                               If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.

                                                                                A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in
                                                                               fines or imprisonment or both. 18 U.S.C. § 156.


                                                                                           DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF A CORPORATION OR PARTNERSHIP

                                                                               I, the N/A [the president or other officer or an authorized agent of the corporation or a member or an authorized agent of the partnership ] of
                                                                               the N/A [corporation or partnership] named as debtor in this case, declare under penalty of perjury that I have read the foregoing summary and
                                                                               schedules, consisting of 20 sheets (Total shown on summary page plus 2), and that they are true and correct to the best of my knowledge,
                                                                               information, and belief.


                                                                               /s/ N/A                                                                                                                  N/A
                                                                               Representative of Debtor                                                                                                 Date


                                                                               [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]



                                                                               Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§
                                                                               152 and 3571.
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                                                                               B 7 (Adapted from Official Form) (04/13)

                                                                                                               United States Bankruptcy Court
                                                                                                                          District of Massachusetts


                                                                               In re: Giuberti, Luiz                                                    Case No. 4:15-bk-41753



                                                                                                                   STATEMENT OF FINANCIAL AFFAIRS

                                                                                          This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which
                                                                               the information for both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish
                                                                               information for both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
                                                                               filed. An individual debtor engaged in business as a sole proprietor, partner, family farmer, or self-employed professional,
                                                                               should provide the information requested on this statement concerning all such activities as well as the individual's personal
                                                                               affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the name and address of
                                                                               the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11
                                                                               U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                                         Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also
                                                                               must complete Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If
                                                                               additional space is needed for the answer to any question, use and attach a separate sheet properly identified with the case
                                                                               name, case number (if known), and the number of the question.

                                                                                                                                           DEFINITIONS

                                                                                          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An
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                                                                               individual debtor is "in business" for the purpose of this form if the debtor is or has been, within six years immediately
                                                                               preceding the filing of this bankruptcy case, any of the following: an officer, director, managing executive, or owner of 5 percent
                                                                               or more of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a sole
                                                                               proprietor or self-employed full-time or part-time. An individual debtor also may be "in business" for the purpose of this form
                                                                               if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
                                                                               debtor’s primary employment.

                                                                                           "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and
                                                                               their relatives; corporations of which the debtor is an officer, director, or person in control; officers, directors, and any persons
                                                                               in control of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing
                                                                               agent of the debtor. 11 U.S.C. § 101(2), (31).



                                                                                         1. Income from employment or operation of business


                                                                               None      State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of
                                                                                         the debtor's business, including part-time activities either as an employee or in independent trade or business, from the
                                                                                         beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the
                                                                                         two years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on
                                                                                         the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates
                                                                                         of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
                                                                                         under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the
                                                                                         spouses are separated and a joint petition is not filed.)


                                                                               RECEIVED BY               SOURCE                                                           AMOUNT WHEN RECEIVED

                                                                               Both                      Employment Income                                             $27,360.00 This year to date (Jan. 1, 2015
                                                                                                                                                                                  to filing date)
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                                                                               RECEIVED BY             SOURCE                                                          AMOUNT WHEN RECEIVED

                                                                               Both                    Employment and Rental Income                                 $90,702.00 Last year (2014)

                                                                               Both                    Employment and Rental Income                                 $65,627.00 Year before last (2013)



                                                                                        2. Income other than from employment or operation of business


                                                                               None     State the amount of income received by the debtor other than from employment, trade, profession, operation of the
                                                                                        debtor's business during the two years immediately preceding the commencement of this case. Give particulars. If a
                                                                                        joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13
                                                                                        must state income for each spouse whether or not a joint petition is filed, unless the spouses are separated and a joint
                                                                                        petition is not filed.)




                                                                                        3. Payments to creditors

                                                                                        Complete a. or b., as appropriate, and c.


                                                                               None     a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of
                                                                                        goods or services, and other debts to any creditor made within 90 days immediately preceding the commencement of
                                                                                        this case unless the aggregate value of all property that constitutes or is affected by such transfer is less than $600.
                                                                                        Indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support obligation or
                                                                                        as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling
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                                                                                        agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses
                                                                                        whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                               None     b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made
                                                                                        within 90 days immediately preceding the commencement of the case unless the aggregate value of all property that
                                                                                        constitutes or is affected by such transfer is less than $6,225.00. If the debtor is an individual, indicate with an
                                                                                        asterisk (*) any payments that were made to a creditor on account of a domestic support obligation or as part of an
                                                                                        alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency.
                                                                                        (Married debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both
                                                                                        spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                               None     c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for
                                                                                        the benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include
                                                                                        payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
                                                                                        petition is not filed.)




                                                                                        4. Suits and administrative proceedings, executions, garnishments and attachments


                                                                               None     a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately
                                                                                        preceding the filing of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include
                                                                                        information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                        and a joint petition is not filed.)




                                                                               Statement of Financial Affairs                                                                                               Page 2
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                                                                               CAPTION OF SUIT                  NATURE OF                        COURT OR AGENCY
                                                                                                                                                                                    STATUS OR DISPOSITION
                                                                               AND CASE NUMBER                  PROCEEDING                       AND LOCATION

                                                                               Deutsche Bank                    Civil Action                     Ninth Circuit Court                Active
                                                                               National Trust                                                    of Orang County
                                                                               Company, as Trustee                                               Florida
                                                                               for Morgan Stanley                                                425 N Orange Ave
                                                                               ABS Capital I Inc.                                                Orlando, FL 32801
                                                                               Trust 2006-WMC2,
                                                                               Mortgage
                                                                               pass-through
                                                                               certificates, series
                                                                               2006-WMC2,
                                                                               2008CA005142-O


                                                                               None     b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one
                                                                                        year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13
                                                                                        must include information concerning property of either or both spouses whether or not a joint petition is filed, unless
                                                                                        the spouses are separated and a joint petition is not filed.)




                                                                                        5. Repossessions, foreclosures and returns


                                                                               None     List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of
                                                                                        foreclosure or returned to the seller, within one year immediately preceding the commencement of this case. (Married
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                                                                                        debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both spouses
                                                                                        whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




                                                                                        6. Assignments and receiverships


                                                                               None     a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the
                                                                                        commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by
                                                                                        either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
                                                                                        filed.)


                                                                               None     b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year
                                                                                        immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
                                                                                        include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
                                                                                        spouses are separated and a joint petition is not filed.)




                                                                                        7. Gifts


                                                                               None     List all gifts or charitable contributions made within one year immediately preceding the commencement of this case
                                                                                        except ordinary and usual gifts to family members aggregating less than $200 in value per individual family member
                                                                                        and charitable contributions aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or
                                                                                        chapter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is filed, unless
                                                                                        the spouses are separated and a joint petition is not filed.)



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                                                                                        8. Losses


                                                                               None     List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement
                                                                                        of this case or since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
                                                                                        include losses by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                                        joint petition is not filed.)




                                                                                        9. Payments related to debt counseling or bankruptcy


                                                                               None     List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for
                                                                                        consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy
                                                                                        within one year immediately preceding the commencement of this case.


                                                                                                                                  DATE OF
                                                                                                                                  PAYMENT, NAME
                                                                                                                                                               AMOUNT OF MONEY OR DESCRIPTION
                                                                               NAME AND ADDRESS OF PAYEE                          OF PAYER IF
                                                                                                                                                               AND VALUE OF PROPERTY
                                                                                                                                  OTHER THAN
                                                                                                                                  DEBTOR

                                                                               Allen Credit & Debt Counseling                     09/11/2015                   $20.00
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                                                                               Agency
                                                                               P.O. Box 195
                                                                               Wessington, SD 57381

                                                                               Perez-Kudzma Law Office, P.C                       09/11/2015                   Litigation Retainer Paid to
                                                                               413 Boston Post Rd                                                              Carmenelisa Perez-Kudzma For
                                                                               Weston, MA 02493                                                                Investigation and Litigation of
                                                                                                                                                               Fraudulent Transfer of property
                                                                                                                                                               located 7361 Woodbrier Ct Orlando,
                                                                                                                                                               Florida on March 19, 2015 committed
                                                                                                                                                               by Global Business Serv Worldwide
                                                                                                                                                               Inc and Adele and Sybil Singh and
                                                                                                                                                               Totaram Singh, $3,500.00




                                                                                        10. Other transfers


                                                                               None     a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of
                                                                                        the debtor, transferred either absolutely or as security within two years immediately preceding the commencement of
                                                                                        this case. (Married debtors filing under chapter 12 or chapter 13 must include transfers by either or both spouses
                                                                                        whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                               NAME AND ADDRESS OF
                                                                                                                                                               DESCRIBE PROPERTY TRANSFERRED
                                                                               TRANSFEREE, RELATIONSHIP TO                        DATE
                                                                                                                                                               AND VALUE RECEIVED
                                                                               DEBTOR




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                                                                               Wood Art Cabinets                                  06/26/2015                   61F Foxmeadow Road, Leominster,
                                                                               851 Lancaster St                                                                MA 01453, $72,000.00
                                                                               Leominster, MA 01453


                                                                               None     b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case
                                                                                        to a self-settled trust or similar device of which the debtor is a beneficiary.




                                                                                        11. Closed financial accounts


                                                                               None     List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were
                                                                                        closed, sold, or otherwise transferred within one year immediately preceding the commencement of this case. Include
                                                                                        checking, savings, or other financial accounts, certificates of deposit, or other instruments; shares and share accounts
                                                                                        held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and other financial
                                                                                        institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning accounts or
                                                                                        instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                        and a joint petition is not filed.)




                                                                                        12. Safe deposit boxes


                                                                               None     List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables
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                                                                                        within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
                                                                                        chapter 13 must include boxes or depositories of either or both spouses whether or not a joint petition is filed, unless
                                                                                        the spouses are separated and a joint petition is not filed.)




                                                                                        13. Setoffs


                                                                               None     List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding
                                                                                        the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information
                                                                                        concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
                                                                                        petition is not filed.)




                                                                                        14. Property held for another person


                                                                               None     List all property owned by another person that the debtor holds or controls.




                                                                                        15. Prior address of debtor




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                                                                               None     If debtor has moved within three years immediately preceding the commencement of this case, list all premises which
                                                                                        the debtor occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed,
                                                                                        report also any separate address of either spouse.




                                                                                        16. Spouses and Former Spouses


                                                                               None     If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska,
                                                                                        Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within
                                                                                        eight years immediately preceding the commencement of the case, identify the name of the debtor’s spouse and of
                                                                                        any former spouse who resides or resided with the debtor in the community property state.




                                                                                        17. Environmental Information.

                                                                                         For the purpose of this question, the following definitions apply:

                                                                                         "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination,
                                                                                        releases of hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or
                                                                                        other medium, including, but not limited to, statutes or regulations regulating the cleanup of these substances, wastes,
                                                                                        or material.

                                                                                         "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or
                                                                                        formerly owned or operated by the debtor, including, but not limited to, disposal sites.
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                                                                                        "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous
                                                                                        material, pollutant, or contaminant or similar term under an Environmental Law.


                                                                               None     a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit
                                                                                        that it may be liable or potentially liable under or in violation of an Environmental Law. Indicate the governmental
                                                                                        unit, the date of the notice, and, if known, the Environmental Law:


                                                                               None     b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of
                                                                                        Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.


                                                                               None     c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with
                                                                                        respect to which the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a
                                                                                        party to the proceeding, and the docket number.




                                                                                        18 . Nature, location and name of business




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                                                                               None      a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and
                                                                                         beginning and ending dates of all businesses in which the debtor was an officer, director, partner, or managing
                                                                                         executive of a corporation, partner in a partnership, sole proprietor, or was self-employed in a trade, profession, or
                                                                                         other activity either full- or part-time within six years immediately preceding the commencement of this case, or in
                                                                                         which the debtor owned 5 percent or more of the voting or equity securities within six years immediately preceding
                                                                                         the commencement of this case.
                                                                                          If the debtor is a partnership, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and
                                                                                         beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the
                                                                                         voting or equity securities, within six years immediately preceding the commencement of this case.
                                                                                          If the debtor is a corporation, list the names, addresses, taxpayer-identification numbers, nature of the businesses,
                                                                                         and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the
                                                                                         voting or equity securities within six years immediately preceding the commencement of this case.


                                                                                                                        LAST FOUR DIGITS OF
                                                                                                                        SOCIAL-SECURITY OR
                                                                                                                                                                                            BEGINNING AND
                                                                               NAME AND ADDRESS                         OTHER INDIVIDUAL                  NATURE OF BUSINESS
                                                                                                                                                                                            ENDING DATES
                                                                                                                        TAXPAYER-I.D. NO.
                                                                                                                        (ITIN)/COMPLETE EIN

                                                                               Giuberti Limo Service d/b/a                                                Transportation                    10/2014 to Present
                                                                               381 Worcester Road                                                         (Sole proprietorship)
                                                                               Framingham, MA 01701


                                                                               None      b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11
                                                                                         U.S.C. § 101.
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                                                                                          The following questions are to be completed by every debtor that is a corporation or partnership and by any individual
                                                                               debtor who is or has been, within six years immediately preceding the commencement of this case, any of the following: an
                                                                               officer, director, managing executive, or owner of more than 5 percent of the voting or equity securities of a corporation; a
                                                                               partner, other than a limited partner, of a partnership, a sole proprietor, or self-employed in a trade, profession, or other activity,
                                                                               either full- or part-time.

                                                                                         (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in
                                                                               business, as defined above, within six years immediately preceding the commencement of this case. A debtor who has not been in
                                                                               business within those six years should go directly to the signature page.)




                                                                                         19. Books, records and financial statements


                                                                               None      a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case
                                                                                         kept or supervised the keeping of books of account and records of the debtor.


                                                                               None      b. List all firms or individuals who within two years immediately preceding the filing of this bankruptcy case have
                                                                                         audited the books of account and records, or prepared a financial statement of the debtor.


                                                                               None      c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of
                                                                                         account and records of the debtor. If any of the books of account and records are not available, explain.




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                                                                               None     d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a
                                                                                        financial statement was issued by the debtor within two years immediately preceding the commencement of this case.




                                                                                        20. Inventories


                                                                               None     a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking
                                                                                        of each inventory, and the dollar amount and basis of each inventory.


                                                                               None     b. List the name and address of the person having possession of the records of each of the inventories reported in a.,
                                                                                        above.




                                                                                        21 . Current Partners, Officers, Directors and Shareholders


                                                                               None     a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.



                                                                               None     b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or
                                                                                        indirectly owns, controls, or holds 5 percent or more of the voting or equity securities of the corporation.
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                                                                                        22 . Former partners, officers, directors and shareholders


                                                                               None     a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately
                                                                                        preceding the commencement of this case.


                                                                               None     b. If the debtor is a corporation, list all officers or directors whose relationship with the corporation terminated
                                                                                        within one year immediately preceding the commencement of this case.




                                                                                        23 . Withdrawals from a partnership or distributions by a corporation


                                                                               None     If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider,
                                                                                        including compensation in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite
                                                                                        during one year immediately preceding the commencement of this case.




                                                                                        24. Tax Consolidation Group.




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                                                                               None     If the debtor is a corporation, list the name and federal taxpayer-identification number of the parent corporation of
                                                                                        any consolidated group for tax purposes of which the debtor has been a member at any time within six years
                                                                                        immediately preceding the commencement of the case.




                                                                                        25. Pension Funds.


                                                                               None     If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to
                                                                                        which the debtor, as an employer, has been responsible for contributing at any time within six years immediately
                                                                                        preceding the commencement of the case.
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                                                                               [If completed by an individual or individual and spouse]

                                                                               I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any
                                                                               attachments thereto and that they are true and correct.


                                                                               /s/ Luiz G. Giuberti                                                                                       10/01/2015
                                                                               Debtor                                                                                                     Date

                                                                               /s/ N/A                                                                                                    N/A
                                                                               Joint Debtor                                                                                               Date




                                                                               [If completed on behalf of a partnership or corporation]

                                                                               I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any
                                                                               attachments thereto and that they are true and correct to the best of my knowledge, information and belief.


                                                                               /s/ N/A                                                                                                    N/A
                                                                               Representative of Debtor                                                                                   Date
                                                                                         [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]

                                                                                                                                  No continuation sheets attached

                                                                                Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and
                                                                                                                                            3571.


                                                                               DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)
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                                                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared
                                                                               this document for compensation and have provided the debtor with a copy of this document and the notices and information
                                                                               required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules or guidelines have been promulgated pursuant to 11
                                                                               U.S.C. § 110(h) setting a maximum fee for services chargeable by bankruptcy petition preparers, I have given the debtor notice
                                                                               of the maximum amount before preparing any document for filing for a debtor or accepting any fee from the debtor, as required
                                                                               by that section.

                                                                                                This section of the signature page is not relevant to this Petition because the BkAssist® software
                                                                                                   used to produce this petition is not licensed for use by paid bankruptcy petition preparers.

                                                                               If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social-security number of the
                                                                               officer, principal, responsible person, or partner who signs this document.

                                                                               Names and Social-Security numbers of all other individuals who prepared or assisted in preparing this document unless the
                                                                               bankruptcy petition preparer is not an individual:

                                                                                If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for
                                                                               each person.

                                                                               A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy
                                                                               Procedure may result in fines or imprisonment or both. 18 U.S.C. § 156.




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                                                                               In re: Giuberti, Luiz                                                               Chapter 13
                                                                                                                                                       Case No. 4:15-bk-41753

                                                                                                                  SUPPLEMENTARY INFORMATION



                                                                               Schedule I, additional employment information:

                                                                               Debtor 1:
                                                                                  Occupation                                       Owner
                                                                                  Employer's name                                  Self Employment Income
                                                                                  Employer's address                               381 Worcester Road
                                                                                                                                   Framingham, MA 01701
                                                                                  How long there?                                  3 Years
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